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                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                               MIDLAND DIVISION

UNITED STATES OF AMERICA                        )
                                                )
v.                                              )   CAUSE NO. MO-07-CR-119
                                                )            MO-10-CV-044
CRYSTAL MUNOZ                                   )

                    GOVERNMENT'S RESPONSE TO MOTION
                TO VACATE, SET ASIDE, OR CORRECT SENTENCE

       The United States of America, by and through the United States Attorney for the

Western District of Texas, files this response to defendant CRYSTAL MUNOZ’s

(“Movant”) Motion to Vacate, Set Aside, or Correct Sentence, pursuant to Title 28, United

States Code, Section 2255, and states that it should, in all things, be denied.

                                      BACKGROUND

       On October 31, 2007, Movant was found guilty of Conspiracy to Possess with Intent

to Distribute 1000 Kilograms or More of Marihuana.1 Movant’s trial counsel filed a Motion

for Post-Verdict Judgment of Acquittal on November 9, 2007, which the Court denied on

November 29, 2007. Movant’s counsel also filed numerous objections to the Presentence

Investigation Report (PSI), which had calculated her guidelines at a level 40, Criminal

History category IV, and a guideline range of 360 months to life imprisonment. Movant’s

counsel was successful on several objections, and the guideline range was adjusted

acoordingly to a level 36, category III range of 235 - 293 months. Movant was sentenced to

to 235 months of incarceration on January 24, 2008. Movant filed a direct appeal of her


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         She was the eighth defendant listed in an indictment of 10 people, and was the only one
to go to trial.
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conviction, which the Fifth Circuit subsequently affirmed in an unpublished opinion in

United States v. Munoz, No. 08-50116, (5th Cir. Nov. 18, 2009). Movant timely filed this

Motion under 28 U.S.C. §2255.

                                           ISSUES

       Movant claims eight instances of ineffective assistance of counsel in her §2255

motion.    Movant contends that she received ineffective assistance of counsel for the

following reasons:

       (A) “Counsel failed to effectively argue lacking evidence as to agreement to conspire

       to possess and distribute controlled substances,”

       (B) “Counsel failed to cross-examine witnesses to determine credibility and using

       methods of impeachment,”

       (C) “Counsel failed to do a thorough and complete Pretrial investigation, resulting in

a failure to file a successful motion to suppress evidence, due to a conviction obtained by use

of coerced confession and violation of the privilege against self incrimination,”

       (D) “Counsel failed to object to unlawful amendment of indictment,”

       (E) “Counsel failed to present a variance between investigating report and trial

       testimony,”

       (F) “Appeal counsel failed to raise these issues on appeal and to raise issues trial

       counsel left to raise on appeal,”

       (G) “Counsel failed to argue effectively the enhancements and failed to object to

       government’s denial of acceptance of responsibility,”



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       (H) “Failed to present to court the variance between defendants statements and actual

report made regarding those statements.”

       Movant was represented by Dan Wade up to and including her trial and sentencing,

and by Jason Leach on appeal.

                          ARGUMENTS AND AUTHORITIES

       Title 28 U.S.C. §2255 provides relief for a federal prisoner who can establish either:

(1) his sentence was imposed in violation of the Constitution or the laws of the United States;

(2) the sentencing court was without jurisdiction to impose the sentence; (3) the sentence was

in excess of the maximum authorized by law; or (4) the sentence is otherwise subject to

collateral attack. 28 U.S.C. §2255; see also United States v. Placente, 81 F.3d 555,585 (5th

Cir. 1996); United States v. Seyfert, 67 F.3d 544, 546 (5th Cir. 1995).

       Relief under Title 28 U.S.C. §2255 is reserved for transgressions of constitutional

rights and for a narrow range of injuries that would not have been raised on direct appeal.

United States v. Payne, 99 F.3d 1273, 1281 (5th Cir. 1996); United States v. Gaudet, 81 F.3d

585, 589 (5th Cir. 1996). The Fifth Circuit has repeatedly held that a convicted criminal

defendant may not raise an issue, either constitutional or jurisdictional, for the first time in

a §2255 motion, without showing either cause and actual prejudice resulting from the error

or that a complete miscarriage of justice will result if the issues are left unaddressed. See

Gaudet, 81 F.3d at 589; United States v. Acklen, 47 F.3d 739, 741-42 (5th Cir. 1995); United

States v. Shaid, 937 F.2d 228, 231-32 (5th Cir. 1991)(enbanc), cert. denied, 502 U.S. 1076

(1992).



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       Ineffective Assistance of Counsel Standard

       One claim the Fifth Circuit recognizes as satisfying the “cause” and “actual prejudice”

standard is ineffective assistance by Movant’s trial or appellate counsel. Gaudet, 81 F.3d at

589; Acklen, 47 F.3d at 742. The Supreme Court announced the constitutional standard for

determining whether a criminal defendant has been denied the effective assistance of counsel

in Strickland v. Washington, 466 U.S. 688 (1984). The benchmark for judging any claim of

ineffectiveness must be whether counsel’s conduct so undermined the proper functioning of

the adversarial process that the trial cannot be relied on as having produced a just result. Id.

at 686; see also Nealy v. Cabana, 764 F.2d 1173, 1177 (5th Cir. 1985). To facilitate this

inquiry, the Supreme Court established a two-prong test.

              First, the defendant must show that counsel’s performance was
              deficient. This requires showing that counsel made errors so
              serious that counsel was not functioning as the “counsel”
              guaranteed the defendant by the Sixth Amendment. Second, the
              defendant must show that the deficient performance prejudiced
              the defense. This requires showing that counsel’s errors were so
              serious as to deprive the defendant of a fair trial, a trial whose
              result is reliable.

Strickland, 466 U.S. at 687.

       A convicted defendant must show that counsel’s representation fell below an objective

standard of reasonableness. See id. at 687-88. Judicial scrutiny of counsel’s performance

must be highly deferential. Id. at 690. A fair assessment of attorney performance requires

that every effort be made to eliminate the distorting effects of hindsight. Id. at 689. A court

must indulge a strong presumption that counsel’s conduct falls within the wide range fo

reasonable professional assistance. Id. at 689. The court should recognize that counsel is

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strongly presumed to have rendered adequate assistance and made all significant decisions

in the exercise of reasonable professional judgment. Id. at 690.

       An error by counsel, even if professionally unreasonable, does not warrant setting

aside the judgment of a criminal proceeding if the error had no effect on the judgment. Id.

at 691. Accordingly, any deficiencies in counsel’s performance must be prejudicial to the

defense in order to constitute ineffective assistance under the Constitution. Id. at 692.

       Even if a defendant shows that particular errors were unreasonable, the defendant

must show that they actually had an adverse effect on the defense. Id. at 693. It is not

enough for the defendant to show that the errors had some conceivable effect on the outcome

of the proceeding. Strickland, 466 U.S. at 693. The defendant must show that there is a

reasonable probability that, but for counsel’s unprofessional errors, the result o the

proceeding would have been different. Id. at 694. A reasonable probability is a probability

sufficient to undermine the confidence in the outcome. Id. at 695.

       Because a convicted defendant must satisfy both prongs of the Strickland test, a

failure to establish either deficient performance or prejudice under the test makes it

unnecessary to examine the other prong. Id. at 700; Seyfert, 67 F.3d at 547. Therefore, a

failure to establish that counsel’s performance fell below an objective standard of

reasonableness avoids the need to consider the issue of prejudice. United States v. Hoskins,

910 F.2d 309, 311 (5th Cir. 1990). It is also unnecessary to consider whether counsel’s

performance was deficient where there is an insufficient showing of prejudice. Black v.

Collins, 962 F.2d 394, 401 (5th Cir. 1992). Further, mere conclusory allegations in support



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of claims of ineffective assistance fo counsel are insufficient, as a matter of law, to raise a

constitutional issue. Kinnamon v. Scott, 40 F.3d 731, 735 (5th Cir. 1994).

       In summary, to prevail on a claim of ineffective assistance of counsel, a convicted

defendant must show that (1) counsel’s representation fell below an objective standard of

reasonableness, and that (2) there is a reasonable probability that, but for counsel’s

unprofessional errors, the result of the proceeding would have been different.

     MOVANT’S CLAIMS OF INEFFECTIVE ASSISTANCE OF COUNSEL

              A. “Counsel failed to effectively argue (lack of) evidence...”

       Movant claims in her §2255 motion that her counsel failed to argue that the evidence

was lacking as to her agreement in the conspiracy. As counsel Dan Wade essentially says in

his affidavit attached hereto, the record speaks for itself. Mr. Wade cross-examined every

witness and argued at length the very issue that Movant claims herein: that there was not

sufficient evidence to convict his client. The jury simply did not believe Movant’s version

and believed the witnesses.

                     B. “Counsel failed to cross-examine witnesses
             to determine credibility and (use) methods of impeachment.”

       Movant is incorrect in suggesting that Movant did not cross-examine witnesses.

Again, as Mr. Wade points out in his affidavit, the record addresses this issue. As to the issue

of whether or not Mr. Wade was allowed to fully question witnesses about their motive for

testifying, Movant has raised this issue with the 5 th Circuit, who determined that there was

no error by the Court, and any error would be harmless regardless. As the 5 th circuit has

stated, the jury heard the witnesses’ motivation to testify during their direct examination and

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any error would be harmless “because the evidence as a whole was overwhelming with

respect to Munoz’s guilt.” (emphasis added). Movant was not ineffective in his cross-

examination of the cooperating witnesses at trial.

       C. “Counsel failed to do a thorough and complete Pretrial investigation,
        resulting in a failure to file a successful motion to suppress evidence,
              due to a conviction obtained by use of coerced confession
              and violation of the privilege against self incrimination.”

       Movant’s trial counsel explains in his affidavit that he investigated Movant’s case to

the point that he was nearly arrested, literally.2 Movant not only reviewed countless pages

of discovery and the recorded interview of the Movant, but also drove several hours to the

checkpoint in question itself to investigate the claims made by the government against his

client. Movant was certainly not ineffective in his investigation of the case.

           D. “Counsel failed to object to unlawful amendment of indictment.”

       The government indicted Movant and her nine co-defendants for conspiring to possess

with intent to distribute controlled substances, then named three substances that were

involved. At trial, the government pursued the marihuana prong only as to Movant since her

involvement dealt with the smuggling of marihuana and not other aspects involving cocaine

and cocaine base. Movant attempts to equate abandoning a portion of the indictment - the

cocaine and cocaine base allegations - with amending the indictment. Movant’s counsel did

not object because he understands the difference, and the Fifth Circuit has repeatedly stated

that attorneys are not required to make futile motions or objections. United States v. Koch,


       2
          Mr. Wade went to the check point that is drawn in the map admittedly authored by
Munoz, and was detained by Border Patrol agents and taken to the check point while trying to
literally re-trace the path drawn by Munoz which circumvented the checkpoint via dirt roads.

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907 F.2d 524, 527 (5th Cir. 1990); Murray v. Maggio, 736 F.2d 279, 283 (5th Cir. 1984).

                       E. “Counsel failed to present a variance
                   between investigating report and trial testimony.”

       Movant’s counsel was provided with reports or statements given or summaries of

interviews for the witnesses, and did in fact question witnesses at length about discrepancies,

however minor or irrelevant, between their testimony and any reports or prior versions they

had given. As his affidavit states, the trial record addresses this issue.

                F. “Appeal counsel failed to raise these issues on appeal
                and to raise issues trial counsel left to raise on appeal.”

       The affidavit of Movant’s appellant attorney, Jason Leach, is also attached, and Mr.

Leach explains that he filed the only point of appeal that he felt was meritorious and

appropriate for direct appeal: the issue of trial counsel Wade’s cross-examination regarding

the cooperating witnesses’ motives for testifying. Movant’s appellate counsel therefore

appealed the issue, the claim was fully litigated by competent appellate counsel, and the 5 th

Circuit simply overruled her claim. In his affidavit, Mr. Leach goes on to note that Mr.

Wade’s performance certainly contradicts the Movant’s claims regarding trial counsel’s

performance from his (Leach’s) review of the record.

              G. “Counsel failed to argue effectively the enhancements
     and failed to object to government’s denial of acceptance of responsibility.”

       Movant is incorrect in stating that Movant’s counsel failed to effectively argue “the

enhancements.” As stated previously, Movant’s counsel filed numerous objections to the PSI,

and successfully argued the reduction of the recommended sentencing guideline range from

360 months to life, down to 235 to 293 months. Movant’s counsel successfully reduced

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Movant’s suggested guideline level by 4 and reduced Movant from criminal history category

4 to category 3. Movant’s trial counsel saved the defendant more than 10 years incarceration

as she received the minimum sentence in the successfully-litigated range. Movant is correct

that Movant failed to object to the denial of acceptance of responsibility, but, given that

Movant went to jury trial and fought the accusations vehemently (and still does), that

objection would have been frivolous and counsel is not required to make futile motions or

objections. Koch, at 527.

     H. “Failed to present to court the variance between defendants statements
               and actual report made regarding those statements.”

       Movant’s counsel scrutinized the discovery, including the Movant’s recorded

interview and researched the availability of any suppression issues. (See attached affidavit.)

Movant cross-examined agents about Movant’s interview statements and variances in

testimony, however small and irrelevant, at length during trial. Furthermore, counsel

explored the idea of suppression as he states in the affidavit that Movant voluntarily went to

be interviewed, against her husband’s advice and despite her claims of coercion and

involuntariness. And as Movant’s counsel further notes in his affidavit, Movant’s interview

was damning.

                                         Conclusion

       In summary, Movant was given competent counsel that thoroughly investigated the

facts of the case beforehand, and tried the case as well as could be expected given the

overwhelming evidence against her. Competent counsel also argued the only meritorious

point of error he found in his review of the record. Her 2255 claims in her pleadings

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repeatedly state that counsel failed to “argue effectively” various issues. This implies that

since her counsel was unsuccessful in getting her acquitted of the charges, that they were

ineffective. That impossible standard - successfully defending a client in the face of (as the

5 th Circuit cited) overwhelming evidence - is not the standard in determining ineffective

assistance of counsel. Counsel for Movant’s affidavit sums up the Movant’s position

perfectly when he says, “Ms. Munoz voluntarily admitted drawing the map, identified key

players, and staying at Longoria’s house in Ojinaga, Mexico in her interview. Ms. Munoz is

desperate but she was fully apprised of the fact that her interview was damning to her case.”

(Emphasis added.)

       Wherefore, the United States prays that Movant's motion be in all things denied.

                                                  Respectfully submitted,

                                                  JOHN E. MURPHY
                                                  UNITED STATES ATTORNEY

                                           By:     /s/ JEFF PARRAS
                                                  JEFF PARRAS
                                                  Assistant U. S. Attorney
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                             CERTIFICATE OF SERVICE

      By signing above, I hereby certify that a copy of the foregoing document has been
mailed to Crystal Munoz, Register No. 79319-180, FMC-Carswell, P.O. Box 27137,
Fort Worth, Texas 76127, on this 29 th day of September, 2010, as the incarcerated
Movant cannot be served via electronic filing.


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                        UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TEXAS
                              MIDLAND DIVISION

UNITED STATES OF AMERICA                     )
                                             )
v.                                           )   CAUSE NO. MO-07-CR-119
                                             )            MO-10-CV-044
CRYSTAL MUNOZ                                )

                                         ORDER

       Came on to be considered Movant's Motion Under 28 U.S.C. 2255 to Vacate, Set

Aside, or Correct Sentence, and after careful consideration, it is determined by the Court

that Movant's motion should be in all things DENIED.

       So ORDERED.

SIGNED and ENTERED this the                  day of                                 , 2010.




                                   UNITED STATES DISTRICT JUDGE
